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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




UNITED STATES OF AMERICA,                    )       Case No.: 5:07 CR 409-16
                                             )
       Plaintiff                             )       JUDGE SOLOMON OLIVER, JR.
                                             )
       v.                                    )
                                             )       ORDER ACCEPTING PLEA
CARLYLE LYNCH,                               )       AGREEMENT, JUDGMENT AND
                                             )       REFERRAL TO U. S. PROBATION
       Defendant                             )       OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge James Kenneth S. McHargh regarding the change of plea hearing of , which

was referred to the Magistrate Judge with the consent of the parties.

       On November 15, 2007, the government filed a forty one count Superseding Indictment,

charging Defendant, Carlyle Lynch, with conspiracy to possess and distribute at least five

kilograms or more of cocaine in violation of Title 21 United States Code, Section 846. On

December 5, 2008, Defendant Lynch was arraigned and entered a plea of not guilty before

Magistrate Judge James S. Gallas. On January 28, 2009, Magistrate Kenneth S. McHargh,

received Defendant Lynch’s plea of guilty to count 41 of the Superseding Indictment and issued

a Report and Recommendation (“R&R”) concerning whether the plea should be accepted and a
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finding of guilty entered.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Lynch is found to be competent to enter a plea and to understand his constitutional rights. He is

aware of the charges and of the consequences of entering a plea. There is an adequate factual

basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant Lynch is adjudged guilty to Count 41 of the Superseding

Indictment, in violation of Title 21 United States Code, Section 846. This matter is referred to

the U. S. Probation Department for the completion of a pre-sentence investigation and report.

Sentencing will be on April 29, 2009, at 2:00 p.m. in Courtroom 17-A, Carl B. Stokes United

States Court House, 801 West Superior Avenue, Cleveland, Ohio.

       IT IS SO ORDERED.



                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
